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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WISCONSIN


U.S. WATER SERVICES, INC. and ROY
JOHNSON,

                   Plaintiffs,

       v.                                            No. 3:13-cv-00864-jdp

NOVOZYMES A/S and NOVOZYMES
NORTH AMERICA, INC.,

                   Defendants.


  DECLARATION OF MICHELLE M. UMBERGER IN SUPPORT OF PLAINTIFFS’
    MOTION FOR PERMANENT INJUNCTIVE RELIEF AND AN ENHANCED
      ROYALTY ON NOVOZYMES’S WILLFUL POST-JUDGMENT SALES


       I, Michelle M. Umberger, am an attorney with the firm of Perkins Coie LLP, and counsel

for U.S. Water Services, Inc. and Roy Johnson. I make this declaration in support of Plaintiffs’

Motion for Permanent Injunctive Relief and an Enhanced Royalty on Novozymes’s Willful Post-

Judgment Sales.

       1.      Attached hereto as Ex. 1 is a true and correct copy of a November 7, 2017, article

published in the Ethanol Producer Magazine, titled “Jury rules in favor of U.S. Water in patent

infringement suit.”

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury, under the laws of the

United States, that the foregoing is true and correct to the best of my knowledge.

Dated this 21st day of November, 2017.


                                                     s/ Michelle M. Umberger
                                                     Michelle M. Umberger
